                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

THE ESTATE OF LALIAH SWAYZER,
SHADE SWAYZER, DIANE RUFFIN,
and CHARLENE RUFFIN,

            Plaintiffs,
                                                      Case No. 16-cv-1703-pp
      v.

ARMOR CORRECTIONAL SERVICES, INC.,
KIMBERLY WITKOWIAK, KEZIAH LOVE,
TERINA CUNNINGHAM, JEFF ANDRYKOWSKI,
WISCONSIN COUNTY MUTUAL INSURANCE CORP.,
DR. MAUREEN WHITE, DR. KAREN RONQUILLO-HORTON,
NP KATHERINE MEINE, DR. GINA NEGRETTE,
RN FREDERICK PORLUCAS, DR. TURAY GULSEN,
WISCONSIN HEALTH CARE LIABILITY INSURANCE PLAN,
AMIKA AVERY, DIEDRE ADAMS, and STEVEN SCHMID,

            Defendants.
______________________________________________________________________________

  ORDER AWARDING COSTS IN CONNECTION WITH ORDER PARTIALLY
           GRANTING MOTION FOR SANCTIONS (DKT. NO. 111)
______________________________________________________________________________

      On October 17, 2017, the County Defendants filed a motion for sanctions

against plaintiffs’ counsel James Gende for conduct that occurred during the

deposition of defendant Terina Cunningham. Dkt. No. 69. The same day,

defendant Armor filed a motion asking the court to stay depositions and issue

an order protecting witnesses; this motion again was based on Attorney

Gende’s conduct at the Cunningham deposition. Dkt. No. 72. On November 29,

2017, the court conducted a hearing on these motions. Dkt. No. 111. It agreed

to impose sanctions against Gende, to the extent that it terminated Ms.

Cunningham’s deposition and agreed to impose costs. Id. It directed the
                                       1

     Case 2:16-cv-01703-PP-WED Filed 01/09/20 Page 1 of 4 Document 499
defendants to submit a joint bill of costs by December 22, 2017 and allowed

Attorney Gende to respond by January 10, 2018. Id.

      The defendants filed their joint bill of costs on December 22, 2017, dkt.

no. 120; the plaintiffs filed their opposition on January 10, 2018, dkt. no. 142;

counsel for Armor filed a supplemental declaration on January 16, 2018, dkt.

no. 144; counsel for the County Defendants filed a supplemental declaration on

January 18, 2018, dkt. no. 145; and on March 5, 2018, counsel for Armor filed

yet another supplemental declaration, dkt. no. 179.

      For reasons wholly attributable to the court—indeed, to the undersigned

judge—the court did not timely rule on the bill of costs. Not even remotely

timely. In fact, counsel for the County Defendants had to gently remind the

court at a hearing on December 5, 2019 that the issue remained unresolved.

Dkt. No. 488. Several days later, counsel for Armor filed a letter, informing the

court that Armor no longer was seeking an award of fees and costs regarding

the incident at the deposition. Dkt. No. 478.

      The County Defendants submitted their bill of costs and a declaration

from counsel by the deadline the court set. Dkt. Nos. 122, 122-1. The plaintiffs

objected, arguing that counsel’s declaration did not list the number of hours

worked, the hourly rate charged, billing invoices, information about the normal

billing rate in the community and other information one would expect to see in

a declaration in support of an award of fees and costs. Dkt. No. 142. They also

argued that it would not be fair to allow the County Defendants to supplement

the declaration, because they would have no ability to respond to a

                                        2

     Case 2:16-cv-01703-PP-WED Filed 01/09/20 Page 2 of 4 Document 499
supplement. Id. at 9. The County Defendants nonetheless submitted a

supplemental declaration that addressed all the criticisms in the plaintiffs’

objection. Dkt. No. 145.

      The court disagrees that allowing the County Defendants to supplement

is unfair. If the plaintiffs felt that the supplemental information was

insufficient, they could have asked leave to file a sur-reply, given that the

supplement contained new information. The court suspects that the reason

they didn’t seek that leave is because the supplemental declaration reflects that

counsel for the County Defendants billed at the quite reasonable rate of $175

an hour for lead counsel, $150 per hour for other counsel and $90 per hour for

paralegals. Dkt. No. 145 at 1. In the court’s experience, these rates are lower

than those charged by counsel of similar skill in the Milwaukee area. The

plaintiffs also argued that the County Defendants included fees for work that

did not involve the termination of Cunningham’s deposition. The County

Defendants quite correctly responded that this court ordered an award of the

fees and costs incurred by bringing the motion for sanctions. Finally, the

amount of work reflected in the bill of costs is reasonable; the descriptions of

the time entries are sufficient to determine what work was done and the bill

provides the time spent on each task.

      The court AWARDS the County Defendants costs in the amount of

$25.34, and fees in the amount of $3,895.50, for a total award of $3,920.84.

The court ORDERS that the Attorney Gende shall pay the full amount of the

fees and costs to Attorney Douglas Knott at Leib Knott Gaynor LLC within sixty

                                         3

     Case 2:16-cv-01703-PP-WED Filed 01/09/20 Page 3 of 4 Document 499
(60) days of the date of this order, unless he seeks additional time in writing

prior to the expiration of the sixty-day period. The court REQUESTS that

Attorney Knott notify the court when payment is received.

      Dated in Milwaukee, Wisconsin this 9th day of January, 2020.

                                      BY THE COURT:


                                      ____________________________________
                                      HON. PAMELA PEPPER
                                      Chief United States District Judge




                                        4

     Case 2:16-cv-01703-PP-WED Filed 01/09/20 Page 4 of 4 Document 499
